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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 META PLATFORMS, INC.,

                               Plaintiff,              Case No. 1:23-cv-03562-RDM

                       v.                              Judge Randolph D. Moss

 FEDERAL TRADE COMMISSION, et al.,

                               Defendants.



              DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       At the motion hearing on March 1, 2024, the Court requested that Defendants provide a

citation to the rule regarding the separation of functions between the Commission and FTC

enforcement staff. The rule is codified at 16 C.F.R. § 4.7. “[E]xcept to the extent required for the

disposition of ex parte matters as authorized by law,” § 4.7(b) prohibits ex parte communications

“relevant to the merits” of an adjudicative proceeding between any “employee or agent of the

Commission who performs investigative or prosecuting functions in adjudicative proceedings” and

the Commission, the Administrative Law Judge, or “any other employee . . . involved in the

decisional process in the proceeding.” As relevant here, the prohibition applies “in an adjudicative

proceeding from the time the Commission votes . . . to issue an order to show cause pursuant to

§ 3.72(b) . . . until the time the Commission votes to enter its decision in the proceeding and the

time permitted by § 3.55 to seek reconsideration of that decision has elapsed.” Id. § 4.7(e).




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Dated: March 4, 2024                     Respectfully submitted,

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